Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 1 of 12




           EXHIBIT A
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 2 of 12




 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                    UNITED STATES DISTRICT COURT
 8
                                   NORTHERN DISTRICT OF CALIFORNIA
 9
                                           OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,              Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                        [PROPOSED] PROTECTIVE ORDER
                                                         FOR LITIGATION INVOLVING
13                                                       PATENTS, HIGHLY SENSITIVE
                     Plaintiffs,
                                                         CONFIDENTIAL INFORMATION
14                                                       AND/OR TRADE SECRETS
              v.
15
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,

17                   Defendants.

18   1.       PURPOSES AND LIMITATIONS
19            Disclosure and discovery activity in this action are likely to involve production of
20   confidential, proprietary, or private information for which special protection from public
21   disclosure and from use for any purpose other than prosecuting this litigation may be warranted.
22   The Parties are in the process of negotiating a comprehensive, permanent Protective Order to
23   govern the production of information in this action. In the meantime, however, the parties
24   request an interim protective order to enable Defendants’ and Non-Parties’ disclosure of
25   information to Plaintiffs and the Court. Accordingly, the parties hereby stipulate to and petition
26   the court to enter the following Stipulated Protective Order to govern the production of
27   information while the parties negotiate a comprehensive, Protective Order to govern the
28   remainder of the action.

          [PROPOSED] PROTECTIVE ORDER                                            Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 3 of 12




 1            The Parties acknowledge that this Order does not confer blanket protections on all

 2   disclosures or responses to discovery and that the protection it affords from public disclosure and

 3   use extends only to the limited information or items that are entitled to confidential treatment

 4   under the applicable legal principles. The Parties further acknowledge, as set forth in Section

 5   12.3, below, that Civil Local Rule 79-5 sets forth the procedures that must be followed and the

 6   standards that will be applied when a party seeks permission from the court to file material under

 7   seal.

 8   2.       DEFINITIONS

 9            2.1    Challenging Party: a Party or Non-Party that challenges the designation of

10   information or items under this Order.

11            2.2    “CONFIDENTIAL” Information or Items: information (regardless of how it is

12   generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

13   of Civil Procedure 26(c).

14            2.3    Counsel (without qualifier): Outside Counsel of Record and House Counsel (as

15   well as their support staff).

16            2.4    Designating Party: a Party or Non-Party that designates information or items that

17   it produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

18   CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

19            2.5    Disclosure or Discovery Material: all items or information, regardless of the

20   medium or manner in which it is generated, stored, or maintained (including, among other things,

21   testimony, transcripts, and tangible things), that are produced or generated in disclosures or

22   responses to discovery in this matter.

23            2.6    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

24   Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another

25   Party or Non-Party would create a substantial risk of serious harm that could not be avoided by

26   less restrictive means.

27            2.7    House Counsel: attorneys who are employees of a party to this action. House

28   Counsel does not include Outside Counsel of Record or any other outside counsel.

          [PROPOSED] PROTECTIVE ORDER                 1                         Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 4 of 12




 1            2.8    Non-Party: any natural person, partnership, corporation, association, or other legal

 2   entity not named as a Party to this action.

 3            2.9    Outside Counsel of Record: attorneys who are not employees of a party to this

 4   action but are retained to represent or advise a party to this action and have appeared in this

 5   action on behalf of that party or are affiliated with a law firm which has appeared on behalf of

 6   that party. Outside Counsel of Record does not include House Counsel.

 7            2.10   Party: any party to this action, including all of its officers, directors, employees,

 8   consultants, retained experts, and Outside Counsel of Record (and their support staffs).

 9            2.11   Producing Party: a Party or Non-Party that produces Disclosure or Discovery

10   Material in this action.

11            2.12   Protected Material: any Disclosure or Discovery Material that is designated as

12   “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

13            2.13   Receiving Party: a Party that receives Disclosure or Discovery Material from a

14   Producing Party.

15   3.       SCOPE

16            The protections conferred by this Stipulation and Order cover not only Protected Material

17   (as defined above), but also (1) any information copied or extracted from Protected Material; (2)

18   all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

19   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

20   Any use of Protected Material at trial shall be governed by a separate agreement or order.

21   4.       DURATION

22            The Parties agree to the confidentiality obligations imposed by this Order on an interim

23   basis pending the parties’ completion of their negotiation of a comprehensive, permanent

24   Protective Order. This Order shall remain in effect until the Court enters a comprehensive,

25   permanent Protective Order. However, any Protected Material protected by the terms of this

26   Order shall remain subject to the confidentiality obligations imposed by this Order until the later

27   of (1) the Court entering a comprehensive, permanent Protective Order that supersedes the

28   provisions of this Order, or (2) 60 days after the final disposition of this action. When the

          [PROPOSED] PROTECTIVE ORDER                   2                         Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 5 of 12




 1   litigation has been terminated, a Receiving Party must comply with the provisions of section 13

 2   below (FINAL DISPOSITION).

 3            Even after final disposition of this litigation, the confidentiality obligations imposed by

 4   this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

 5   order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

 6   claims and defenses in this action, with or without prejudice; and (2) final judgment herein after

 7   the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this

 8   action, including the time limits for filing any motions or applications for extension of time

 9   pursuant to applicable law.

10            The Parties’ agreement to the confidentiality obligations imposed by this Order does not

11   constitute consent to, or waiver of, any terms to be included in a later-entered comprehensive,

12   permanent Protective Order. Nothing in this Order prevents any Party from seeking different or

13   greater protections for any Disclosure or Discovery Material not subject to the provisions of this

14   Order.

15   5.       DESIGNATING PROTECTED MATERIAL

16            5.1    Exercise of Restraint and Care in Designating Material for Protection. Each Party

17   or Non-Party that designates information or items for protection under this Order must take care

18   to limit any such designation to specific material that qualifies under the appropriate standards.

19            If it comes to a Designating Party’s attention that information or items that it designated

20   for protection do not qualify for protection at all or do not qualify for the level of protection

21   initially asserted, that Designating Party must promptly notify all other parties that it is

22   withdrawing the mistaken designation.

23            5.2    Manner and Timing of Designations. Except as otherwise provided in this Order

24   (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

25   Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

26   designated before the material is disclosed or produced.

27            Designation in conformity with this Order requires that the Producing Party affix the

28   legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to

          [PROPOSED] PROTECTIVE ORDER                   3                         Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 6 of 12




 1   each page of a document that contains protected material. If only a portion or portions of the

 2   material on a page qualifies for protection, the Producing Party also must clearly identify the

 3   protected portion(s) (e.g., by making appropriate markings in the margins) and must specify, for

 4   each portion, the level of protection being asserted.

 5            5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

 6   designate qualified information or items does not, standing alone, waive the Designating Party’s

 7   right to secure protection under this Order for such material. Upon timely correction of a

 8   designation, the Receiving Party must make reasonable efforts to assure that the material is

 9   treated in accordance with the provisions of this Order.

10   6.       CHALLENGING CONFIDENTIALITY DESIGNATIONS

11            6.1   Timing of Challenges. Any Party or Non-Party may challenge a designation of

12   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

13   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

14   burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

15   challenge a confidentiality designation by electing not to mount a challenge promptly after the

16   original designation is disclosed.

17            6.2   Meet and Confer. The Challenging Party shall initiate the dispute resolution

18   process by providing written notice of each designation it is challenging and describing the basis

19   for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

20   notice must recite that the challenge to confidentiality is being made in accordance with this

21   specific paragraph of the Protective Order. The parties shall attempt to resolve each challenge in

22   good faith and must begin the process by conferring directly (in voice to voice dialogue; other

23   forms of communication are not sufficient) within 14 days of the date of service of notice. In

24   conferring, the Challenging Party must explain the basis for its belief that the confidentiality

25   designation was not proper and must give the Designating Party an opportunity to review the

26   designated material, to reconsider the circumstances, and, if no change in designation is offered,

27   to explain the basis for the chosen designation. A Challenging Party may proceed to the next

28   stage of the challenge process only if it has engaged in this meet and confer process first or

          [PROPOSED] PROTECTIVE ORDER                   4                         Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 7 of 12




 1   establishes that the Designating Party is unwilling to participate in the meet and confer process in

 2   a timely manner.

 3            6.3    Judicial Intervention. If the Parties cannot resolve a challenge without court

 4   intervention, the Designating Party shall file and serve a motion to retain confidentiality under

 5   Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) within 21 days

 6   of the initial notice of challenge or within 14 days of the parties agreeing that the meet and

 7   confer process will not resolve their dispute, whichever is earlier. Each such motion must be

 8   accompanied by a competent declaration affirming that the movant has complied with the meet

 9   and confer requirements imposed in the preceding paragraph. Failure by the Designating Party to

10   make such a motion including the required declaration within 21 days (or 14 days, if applicable)

11   shall automatically waive the confidentiality designation for each challenged designation. In

12   addition, the Challenging Party may file a motion challenging a confidentiality designation at

13   any time if there is good cause for doing so, including a challenge to the designation of a

14   deposition transcript or any portions thereof. Any motion brought pursuant to this provision must

15   be accompanied by a competent declaration affirming that the movant has complied with the

16   meet and confer requirements imposed by the preceding paragraph.

17            The burden of persuasion in any such challenge proceeding shall be on the Designating

18   Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose

19   unnecessary expenses and burdens on other parties) may expose the Challenging Party to

20   sanctions. Unless the Designating Party has waived the confidentiality designation by failing to

21   file a motion to retain confidentiality as described above, all parties shall continue to afford the

22   material in question the level of protection to which it is entitled under the Producing Party’s

23   designation until the court rules on the challenge.

24   7.       ACCESS TO AND USE OF PROTECTED MATERIAL

25            7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed

26   or produced by another Party or by a Non-Party in connection with this case only for

27   prosecuting, defending, or attempting to settle this litigation. Such Protected Material may be

28   disclosed only to the categories of persons and under the conditions described in this Order.

          [PROPOSED] PROTECTIVE ORDER                  5                         Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 8 of 12




 1   When the litigation has been terminated, a Receiving Party must comply with the provisions of

 2   section 13 below (FINAL DISPOSITION).

 3          Protected Material must be stored and maintained by a Receiving Party at a location and

 4   in a secure manner that ensures that access is limited to the persons authorized under this Order.

 5          7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

 6   ordered by the court or permitted in writing by the Designating Party, a Receiving Party may

 7   disclose any information or item designated “CONFIDENTIAL” only to:

 8          (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees

 9   of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information

10   for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that

11   is attached hereto as Exhibit A;

12          (b) the court and its personnel; and

13          (c) other persons who sign the “Acknowledgment and Agreement to Be Bound” that is

14   attached hereto as Exhibit A, provided that their names are first provided to the Designating

15   Party and either the Designating Party consents in writing or the Court approves the proposed

16   disclosure in writing.

17           7.3    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

18   Information or Items. Unless otherwise ordered by the court or permitted in writing by the

19   Designating Party, a Receiving Party may disclose any information or item designated

20   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:

21          (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees

22   of said Outside Counsel of Record (not including House Counsel) to whom it is reasonably

23   necessary to disclose the information for this litigation and who have signed the

24   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A;

25          (b) the court and its personnel; and

26          (c) other persons as identified and agreed to in advance by the Parties, provided that any

27   person receiving the materials must first sign the “Acknowledgment and Agreement to Be

28   Bound” that is attached hereto as Exhibit A.

       [PROPOSED] PROTECTIVE ORDER                    6                        Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 9 of 12




 1   8.       PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

 2            LITIGATION

 3            If a Party is served with a subpoena or a court order issued in other litigation that compels

 4   disclosure of any information or items designated in this action as “CONFIDENTIAL” or

 5   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” that Party must:

 6            (a) promptly notify in writing the Designating Party. Such notification shall include a

 7   copy of the subpoena or court order;

 8            (b) promptly notify in writing the party who caused the subpoena or order to issue in the

 9   other litigation that some or all of the material covered by the subpoena or order is subject to this

10   Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and

11            (c) cooperate with respect to all reasonable procedures sought to be pursued by the

12   Designating Party whose Protected Material may be affected.

13            If the Designating Party timely seeks a protective order, the Party served with the

14   subpoena or court order shall not produce any information designated in this action as

15   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” before a

16   determination by the court from which the subpoena or order issued, unless the Party has

17   obtained the Designating Party’s permission. The Designating Party shall bear the burden and

18   expense of seeking protection in that court of its confidential material – and nothing in these

19   provisions should be construed as authorizing or encouraging a Receiving Party in this action to

20   disobey a lawful directive from another court.

21   9.       A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

22            LITIGATION

23            The terms of this Order are applicable to information produced by a Non-Party in this

24   action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’

25   EYES ONLY.” Such information produced by Non-Parties in connection with this litigation is

26   protected by the remedies and relief provided by this Order. Nothing in these provisions should

27   be construed as prohibiting a Non-Party from seeking additional protections.

28   10.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

          [PROPOSED] PROTECTIVE ORDER                   7                        Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 10 of 12




 1          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

 2   Material to any person or in any circumstance not authorized under this Stipulated Protective

 3   Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

 4   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

 5   Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

 6   made of all the terms of this Order, and (d) request such person or persons to execute the

 7   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

 8   11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

 9          MATERIAL

10          When a Producing Party gives notice to Receiving Parties that certain inadvertently

11   produced material is subject to a claim of privilege or other protection, the obligations of the

12   Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This

13   provision is not intended to modify whatever procedure may be established in an e-discovery

14   order that provides for production without prior privilege review. Pursuant to Federal Rule of

15   Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of a

16   communication or information covered by the attorney-client privilege or work product

17   protection, the parties may incorporate their agreement in the stipulated protective order

18   submitted to the court.

19   12.    MISCELLANEOUS

20          12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to

21   seek its modification or replacement by the court in the future.

22          12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective

23   Order no Party waives any right it otherwise would have to object to disclosing or producing any

24   information or item on any ground not addressed in this Stipulated Protective Order. Similarly,

25   no Party waives any right to object on any ground to use in evidence of any of the material

26   covered by this Protective Order.

27          12.3    Filing Protected Material. Without written permission from the Designating Party

28   or a court order secured after appropriate notice to all interested persons, a Party may not file in

       [PROPOSED] PROTECTIVE ORDER                     8                         Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 11 of 12




 1   the public record in this action any Protected Material. A Party that seeks to file under seal any

 2   Protected Material must comply with Civil Local Rule 79-5. If a Receiving Party's request to file

 3   Protected Material under seal pursuant to Civil Local Rule 79-5(e) is denied by the court, then

 4   the Receiving Party may file the Protected Material in the public record pursuant to Civil Local

 5   Rule 79-5(e)(2) unless otherwise instructed by the court.

 6   13.    FINAL DISPOSITION

 7          Within 60 days after the final disposition of this action each Receiving Party must return

 8   all Protected Material to the Producing Party or destroy such material. As used in this

 9   subdivision, “all Protected Material” includes all copies, abstracts, compilations, summaries, and

10   any other format reproducing or capturing any of the Protected Material. Whether the Protected

11   Material is returned or destroyed, the Receiving Party must submit a written certification to the

12   Producing Party (and, if not the same person or entity, to the Designating Party) by the 60-day

13   deadline that (1) identifies (by category, where appropriate) all the Protected Material that was

14   returned or destroyed and (2) affirms that the Receiving Party has not retained any copies,

15   abstracts, compilations, summaries or any other format reproducing or capturing any of the

16   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an archival

17   copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

18   correspondence, deposition and trial exhibits, expert reports, attorney work product, and

19   consultant and expert work product, even if such materials contain Protected Material. Any such

20   archival copies that contain or constitute Protected Material remain subject to this Protective

21   Order as set forth in Section 4 (DURATION).

22

23   IT IS SO ORDERED.

24
     DATED: ________________________ _____________________________________
25                                       The Honorable Phyllis J. Hamilton
26                                       United States District Judge

27

28

       [PROPOSED] PROTECTIVE ORDER                    9                         Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH Document 114-1 Filed 08/03/20 Page 12 of 12




 1                                               EXHIBIT A

 2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3          I, _____________________________ [print or type full name], of _________________

 4   [print or type full address], declare under penalty of perjury that I have read in its entirety and

 5   understand the Stipulated Protective Order that was issued by the United States District Court for

 6   the Northern District of California on [date] in the case of ___________ [insert formal name of

 7   the case and the number and initials assigned to it by the court]. I agree to comply with and

 8   to be bound by all the terms of this Stipulated Protective Order and I understand and

 9   acknowledge that failure to so comply could expose me to sanctions and punishment in the

10   nature of contempt. I solemnly promise that I will not disclose in any manner any information or

11   item that is subject to this Stipulated Protective Order to any person or entity except in strict

12   compliance with the provisions of this Order.

13          I further agree to submit to the jurisdiction of the United States District Court for the

14   Northern District of California for the purpose of enforcing the terms of this Stipulated

15   Protective Order, even if such enforcement proceedings occur after termination of this action.

16          I hereby appoint __________________________ [print or type full name] of

17   _______________________________________ [print or type full address and telephone

18   number] as my California agent for service of process in connection with this action or any

19   proceedings related to enforcement of this Stipulated Protective Order.

20

21   Date: _________________________________

22   City and State where sworn and signed: _________________________________

23   Printed name: ______________________________
24                 [printed name]

25   Signature: __________________________________
                   [signature]
26

27

28

       [PROPOSED] PROTECTIVE ORDER                     10                        Case No. 4:19-cv-07123-PJH
